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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          :
EVA DIAZ AND FRANKIE DIAZ, Administrators :
Of The ESTATE OF FRANKIE DIAZ, JR.,       :
                                          :                 Civil Action No.
                          Plaintiff,      :
                                          :
v.                                        :
                                          :                 JURY TRIAL DEMANDED
                                          :
THE CITY OF PHILADELPHIA                  :
                                          :
And                                       :
                                          :
WARDEN PIERRE LACOMB,                     :
                                          :
And                                       :
                                          :
PRISON COMMISSIONER BLANCHE               :
CARNEY, in her individual                 :
capacity,                                 :
                                          :
And                                       :
                                          :
JOHN DOE CORRECTIONS OFFICERS #1-10 :
                                          :
                          Defendants.     :
                                          :

                                   PLAINTIFF’S COMPLAINT

       NOW COMES Eva Diaz and Frankie Diaz as the Administrators of the Estate of Frankie

Diaz, Jr., complaining of Defendants Detention Center, Philadelphia Department of Prisons, the

City of Philadelphia, Warden Pierre Lacomb, Prison Commissioner Blanche Carney, and John

Doe Corrections Officers #1-10 and for cause would show the Honorable Court as follows:

                                          INTRODUCTION

       1.      In August of 2020 Plaintiff’s Decedent Frankie Diaz was a pre-trial detainee at the

Philadelphia Detention Center where he was awaiting trial on drug charges.
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       2.      Plaintiff’s Decedent had been arrested several months before, and was detained as

a result of being on probation, and was ineligible for bail.

       3.      This is an action brought by the Plaintiff against the Defendants for their failure to

protect the Plaintiff’s Decedent from known and obvious risks which resulted in his beating, and

eventually his murder. These claims are brought under the Fourteenth Amendment of the United

States Constitution and state law.

       4.      Plaintiffs bring this action pursuant to Pennsylvania’s wrongful death and survival

act statutes. No action for wrongful death or survival has been filed prior to this action, and

Plaintiffs are permitted to file this action pursuant to Pa. R.C.P. 2202(a-c)

       5.      Plaintiffs bring this action pursuant to Pennsylvania’s wrongful death statute on as

the personal representatives/ Administrators of the Estate of their son Frankie Diaz Jr., and behalf

of themselves, as Plaintiff’s Decedent’s wrongful death beneficiaries.

                                                 PARTIES

       6.      Plaintiff, Eva Diaz, is the is an adult citizen of the Commonwealth of Pennsylvania

and is the co-Administrator of the Estate of Frankie Diaz as well as the Decedent’s mother.

       7.      Plaintiff Frankie Diaz is an adult citizen of the Commonwealth of Pennsylvania and

is co-Administrator of the Estate of Frankie Diaz, as well as the Decedent’s father.

       8.      Copies of the Letters of Administration appointing the Plaintiffs as the

Administrators of the Estate of Frankie Diaz are attached hereto as Exhibit “A”.

       9.      Frankie Diaz died intestate. He was unmarried and had no children. He was

survived by his parents, Plaintiff Frank Diaz and Plaintiff Eva Diaz.

       10.     Defendant, City of Philadelphia, a City of the First Class organized and existing

under the laws of the Commonwealth of Pennsylvania was responsible for the creation and
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operation of the Philadelphia Department of Prisons including, but not limited to, the Detention

Center which is located at 8201 State Road, Philadelphia, Pa.

        11.     Defendant, Warden Pierre Lacomb, was at all times relevant hereto, the Warden for

the Detention Center, responsible for the assignments, staffing, and operations of that facility.

        12.     Defendant, Prison Commissioner Blanche Carney, was at all times relevant hereto,

the Commissioner for the Philadelphia Department of Prisons of the City of Philadelphia.

Defendant Carney was the final policymaker on correctional officer staffing levels within the

Philadelphia Department of Prisons including at the Detention Center.

        13.     Defendant John Doe Corrections Officer #1 is one of the corrections officers

assigned to Plaintiff’s Decedent’s cell block who was supposed to be guarding the showers on

August 18th, 2020 but failed to do so.

        14.     Defendant John Doe Corrections Officer #2 is one of corrections officers assigned

to Plaintiff’s Decedent’s block who was supposed to be guarding the showers on August 18th, 2020

but failed to do so.

        15.     Defendant John Doe Corrections Officer #3 is one of corrections officers assigned

to Plaintiff’s Decedent’s block who was supposed to be guarding the showers on August 18th, 2020

but failed to do so.

        16.     Defendant John Doe Corrections Officer #4 is one of corrections officers who was

in charge of assigning, overseeing, supervising, and/or ensuring the above referenced correctional

officers were guarding the showers on August 18th, 2020 but failed to do so.

        17.     Defendant John Doe Corrections Officer #5-6 are the corrections officers who were

had knowledge of the history of interactions and/or threats between the Plaintiff’s Decedent and
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Adam Tann, but failed to move the Plaintiff’s Decedent to another location, or allowed the

Plaintiff’s Decedent to be in the shower, unguarded with Adam Tann.

        18.     Defendant John Doe Corrections Officer #7-10 are the corrections officers who

were in the vicinity of the Plaintiff’s Decedent, and could have, or should have heard the assault,

should have been guarding the area to ensure that an assault did not occur, and failed to do so, or

in the alternative failed to intervene until it was too late for the Plaintiff’s Decedent.

                                      JURISDICTION AND VENUE

        19.     Jurisdiction exists in this Honorable Court pursuant to 28 U.S.C. § 1331 and 1343

as this action is brought pursuant to 42 U.S.C. § 1983 to redress a deprivation of the Fourteenth

Amendment rights of the Plaintiff’s Decedent Frankie Diaz. Plaintiff further invokes supplemental

jurisdiction of this Court pursuant to 28 U.S.C. § 1367 to adjudicate pendent state law claims.

        20.     Venue is proper in this Honorable Court as Defendants’ constitutional violations

and intentional torts and otherwise violative conduct occurred within the Eastern District of

Pennsylvania.

                                          FACTS OF THE CASE

        21.     On or about August 18, 2020, Frankie Diaz was a pre-trial detainee at the Detention

Center in Philadelphia.

        22.     During his detention while awaiting trial, and during the COVID-19 pandemic,

Diaz had contracted COVID-19.

        23.     Diaz had struggled with drug addiction over the course of his live, including being

addicted to heroin.

        24.     While incarcerated Diaz had several fights and disagreements on his block which

amounted to a group of inmates, including but not limited to Inmate Adam Tann, PP#1032771
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making and acting on threats to harm the Plaintiff’s Decedent, all facts of which the Defendants,

in particular COs 1-10, were aware both from their actual experience and observations, and from

being told by the Plaintiff’s Decedent and/or other inmates or correctional officers.

        25.     Despite these concerns, the City acting through Defendant Lacombe and John Doe

Corrections Officers 1-10, continued to place Diaz on the prison block which was substantially

understaffed with the group of inmates and/or individuals who they had knowledge presented a

threat to Diaz’s health and safety.

        26.     Approximately 1 week before August 18, Diaz was involved in a significant fight

and/or altercation with the above referenced group of individuals, including Adam Tann, again of

which the Defendants, in particular Corrections Officers 1-10, were aware as set forth above.

        27.     On August 18, 2020 Diaz was on the cell block in the shower area of section 303

dormitory when he was attacked by Adam Tann and upon information and belief, a group of

individuals which whom he had prior altercations with.

        28.     The shower area was unguarded, or in the alternative the guards in that area did

nothing to intervene in the attack.

        29.     When Diaz was attacked, he screamed for help but no Correctional Officers were

present, or in the alternative, those present refused and/or failed to intervene in deliberative

indifference to the Plaintiff’s constitutional rights.

        30.     Plaintiff’s Decedent was violently assaulted and suffered significant injuries

including bilateral nasal fractures, contusions, bruising and swelling around his left eye, numerous

lacerations to the right forehead and left upper and lower lips, left periorbital purple ecchymosis,

a focal right frontal subscapular hemorrhage, focal subcutaneous soft tissue hemorrhage at the left
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posterior angle of the neck and left sternocleidomastoid muscle, and a large subarachnoid

hemorrhage with diffuses cerebral edema as a result of the trauma.

        31.     Plaintiff’s Decedent was found some indeterminate amount of time later by

correctional officers, upon information and belief one of more of the correctional officers who was

supposed to be guarding the shower and who is identified herein as Correctional Officers 1-10.

        32.     He was found on the ground, unresponsive and not breathing and was rushed to

Aria Jefferson Hospital where attempts at revival were made, care was rendered, and the Plaintiff’s

Decedent was ultimately pronounced death on August 19, 2020.

        33.     It is alleged and averred that this assault had been overheard by other inmates,

however no guards were present, or in the alternative, those that were present ignored the

altercation and the Plaintiff’s cries for help.

        34.     Inexplicably the shower – a common area for assaults to occur – and a dangerous

area – was free of any guards whatsoever at the time of the attack and it was not until the Plaintiff’s

Decedent was already dead that guards arrived.

               FAILURES OF THE PHILADELPHIA DEPARTMENT OF PRISONS

        35.     For years, the Philadelphia Department of Prisons has displayed a consistent and

systemic failure to maintain proper staffing practices, resulting in a significant understaffing

leading to an increase in inmate deaths directly related to the lack of supervision.

        36.     Prison Commissioner Blanche Carney and Warden Pierre Lacomb have long been

aware of the dangers created by their failure to maintain proper staffing.

        37.     Not only did the City of Philadelphia tolerate the escalating danger from their lack

of staffing, Commissioner Carney went so far as to blame the issue on the general staffing
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shortages caused by the COVID-19, despite there being evidence that this practice existed long

before the pandemic.

                                   PDP’s Established Practice of Understaffing

        38.      According to the Philadelphia Office of the Controller, from 2019 to April of 2021

the PDP saw staff vacancies triple and conditions within the facilities become increasingly unsafe. 1

        39.      City Controller Rebecca Rhynhart expressed grave concern with staffing, stating:

         “The Department of Prisons is at a tipping point. Inadequate staffing levels have
led to unsafe conditions for workers and confinement of inmates, many of whom are pre-
trial, to their cells – sometimes for 20 or more hours a day… The City is responsible for
the Department of Prisons’ more than 1,500 correctional officers and approximately 4,600
inmates. We have a duty to provide safe working conditions and humane living conditions.
The City must take an all-hands-on-deck approach to reach this hiring goal, with rigorous
recruitment and multiple classes.”

        40.      This assessment was based data provided by PDP which showed that from 2019 –

2021, correctional staffing declined by 440 officers and only 119 new officers were hired within

that same period. At the time of the statement, Rhynhart indicated that more than 300 COs were

needed to meet adequate staffing.1

        41.      The City of Philadelphia acknowledged the danger that the staffing shortages

create, pointing to the five inmate on inmate homicides in PDP facilities from August 2020 – May

2021. A total that exceeded the prior eight years combined.1

        42.      The Philadelphia Inquirer, frequently reported on the failures of the PDP, including

an April 23, 2021 article that stated that there were shifts where as many as 14 of the 15 workers

abandoned their shifts. 2




1 https://controller.phila.gov/controller-rhynhart-calls-for-staffing-increase-at-philadelphia-prisons-department-
to-improve-safety-for-correctional-officers-and-inmates/
2 https://www.inquirer.com/news/philadelphia-jail-murder-christopher-hinkle-armani-faison-20210423.html
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        43.      On May 19, 2021 it was reported that 64% of staff called out on Mother’s Day

weekend. 3

        44.      Commissioner Carney acknowledged that PDP was short 333 staff positions.3

        45.      This number continued to grow, and in June 2021 it was then reported that PDP

was short 382 officers needed to operate safely. 4 By August 26, 2021 the gap had grown to 483

officers.

        46.      In an August 26, 2021 report, the Pennsylvania Prison Society executive Director

Claire Shubik-Richards stated “we have been warning the city for months that the prison is

dangerous, unconstitutional in its conditions, and past the boiling point.”4

        47.      Correctional officers, including lieutenants, captains, and veterans of more than 20

years, told the Inquirer in October 2021 that the conditions in PDP facilities are the “worst they

have ever seen.” 5

        48.      It was then reported that the number of staff needed to operate safely had grown to

500.

        49.      Highlighting the danger the danger in the Philadelphia Prisons is the fact that the

PDP inmate population fell by 2% since 2019, yet over that same period seen staffing levels

dropped by 28%.

        50.      On November 4, 2021, an analysis of PDP staffing rosters found that 20-30% of

shifts on a given day were filled by officers and supervisors working overtime, and more than 40%

of shifts listed were not filled at all. 6




3 https://www.inquirer.com/news/philadelphia-department-prisons-lockdown-bail-fund-20210519.html
4 https://www.inquirer.com/news/philadelphia-prison-riot-cfcf-assault-20210826.html
5 https://www.inquirer.com/opinion/commentary/philadelphia-prisons-correctional-officer-shortage-

20211006.html#loaded
6 https://www.inquirer.com/news/philadelphia-jails-staffing-shortage-assault-20211104.html
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        51.     David Robinson, the president of the correctional officers’ union, Local 159 of

AFSCME District Council 33, stated that “we’re in a situation where we don’t have staff. That

makes the prisons dangerous…they had an obligation to keep these jails safe. And I’m going to be

honest: I believe they failed.”

        52.     By the November report, the City Controllers officer claimed a 28% vacancy rate

within PDP.

        53.     Commissioner Carney suggested then and has since continued to suggest that the

COVID-19 pandemic is to blame, however at the same time the Pennsylvania Department of

Corrections reported only a 5.6% vacancy rate.

                                        Powell v. City of Philadelphia

        54.     Understaffing has been a long-followed practice of the City of Philadelphia.

        55.     On November 4, 2004, then-Commissioner Leon King implemented a limited

overtime policy for PDP officers, sparking significant under-staffing.

        56.     This understaffing led to an increase of violence in the jails and a deprivation of

inmates rights, as well as federal litigation to resolve the issue.

                                       Remick v. City of Philadelphia

        57.     In April of 2020, ten incarcerated individuals within various facilities operated by

the Philadelphia Department of Prisons filed a civil rights class action lawsuit against the City of

Philadelphia and Prison Commissioner Blanche Carney over the conditions of the prisons and

treatment of inmates by staff.

        58.     Understaffing within the Department of Prisons was identified in that litigation as

the cause of most of the constitutional violations claimed.
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        59.     Judge Schiller ordered the City and Carney (hereafter “Defendants”) through a

partial settlement agreement dated June 3, 2020 to rectify certain failures including providing

regular staff to maintain safe and optimal operations for inmates.

                                                 Reports

        60.     Throughout the entirety of the case there were frequent status reports regarding

Defendant’s compliance.

        61.     A report dated September 24, 2020 concluded “according to an initial review of the

staffing reports produced by Defendants, CFCF appears to have the greatest issue with staffing

shortages, with many months reporting a shortage of over 100 staff. Of the five facilities, the

housing units at CFCF report the most pervasive incidents of non-compliance with the Order.”

(9/24/2020 Report at pp. 3, 7-10).

        62.     The report noted that due to staffing shortages there would be times when “no CO

enters a unit for upwards of two hours at a time, leading to delayed response to fights or medical

emergencies.” (Id. at p. 3; fn 2).

        63.     Within that same filing, Defendants acknowledged that “staff non-attendance has

been an issue.” (Id. at pp. 7, 11).

        64.     On October 7, 2020, both parties convened for a joint status report where it was

noted that the City and Commissioner admitted their failure to comply with the Court Order, citing

staff shortages. (10/7/2020 Report at p. 2).

        65.     Defendants acknowledged that at CFCF in particular, units would often face severe

staff shortages for several days in a row which led to further the continued failure to comply with

the order. (3/4/2021 Report at pp. 2, 7-8).
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        66.     A March 19, 2021 joint status report again pointed out insufficient staffing as the

primary reason reported by both inmates and PDP administrators for the City’s failures to provide

for inmate needs. (3/19/21 Report at p. 1).

        67.     Defendants cited “strenuous staff shortages” as the reason for their failure to allow

inmates adequate out-of-cell time as required by the order. (Id. at pp. 2, 7-8).

        68.     This status report also made clear that despite the City of Philadelphia, PDP, and

Commissioner Carney all blaming general staff shortages on the COVID-19 pandemic that “these

issues are limited to the security staff,” and that other areas, such as medical staff, are not calling

out or failing to show to their shifts in the way that COs are. (Id. at pp. 3-4).

        69.     Within the April 8, 2021 report, it was made clear that the City, Commissioner

Carney and the Wardens alike were aware that insufficient staffing would reasonably result in

dangerous conditions, and that the failures had grown so severe that “there is no realistic prospect

for the hiring of addition[al] correctional officers that will remedy these issues in the near-term.

The price for this failure is being borne by incarcerated persons.” (4/8/2021 Report at pp. 3, 17-

18).

        70.     Staffing issues continued to become more severe, being labelled a “staffing crisis”

by PDP in the August 19, 2021 status report.

        71.     Soon after, a September 9, 2021 status report again outlined the staffing crisis.

        72.     It was found then through data provided to the Court that the PDP staffing crisis

was “caused not only by high rates of staff absenteeism, but also by the City’s failure to have

sufficient numbers of corrections officers to properly staff PDP facilities,” with no “realistic plan

for closing the gap in terms of correctional staffing.” (9/9/2021 Report at p. 2).
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        73.     The PDP and the City continued to fall short of addressing their long-standing

inadequate staffing, despite the repeated notices and prolonged dangers. (Id. at p. 2).

                                            Inmate Statements

        74.     Between September 2020 and September 2021 inmates at PDP-run facilities

provided declarations on their experiences within the prisons as part of the litigation.

        75.     Across the board, inmates reported significant lack of staff resulting in the

deprivation of their out-of-cell time, medication, mail, and proper supervision.

        76.     On September 20, 2020, Jacquar J. Stokes, an inmate at CFCF, said in his

declaration that he had experienced the negative impacts of CFCF’s understaffing.

        77.     Mr. Stokes stated that “insufficient staffing is a big impediment to our wellbeing.

We are kept in our cells for days at a time and told this is because there are not enough COs on

duty,” noting that on the weekends “none” of the regular CO’s report to their shifts.

        78.     Another inmate at CFCF, Daniel Marshall, stated that on August 19, 21, 22, 24, and

26, 2020, inmates were not let out of their cells at all, with the only explanation on August 21st

being that “not enough guards were present at the facility.”

        79.     Kenneth Clark, an inmate at CFCF, stated that on top of inadequate staffing

generally, even the correctional officers that do come to their shifts sometimes would “leave for

lunch and do not come back to let us out of our cells.”

        80.     Also on December 3, CFCF inmate Naeem Beyah stated that even though he is a

block worker, he and other block workers are not permitted to leave their cells at times due to a

lack of staff on the unit.

        81.     At the Philadelphia Industrial Correctional Center, another facility operated by PDP

and Commissioner Blanche, inmate Tony Bizzell stated that there were also inadequate staff there
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resulting in dangerous and neglectful conditions, including on December 28, 2020 when Bizzell

stated that another inmate committed suicide. Bizzell states that “I heard him asking for help

several times before he died, but staff did not attend to him.”

        82.     Detention Center, another PDP facility, also saw inmates neglected with one inmate

saying that at one point they were not let out of their cell for 48 straight hours due to lack of staff.

(Ex. 11, P. 10; 4)

        83.     Karren Sprual, another CFCF inmate, claimed in his declaration that “staff tells us

that there are not enough correctional officers to have rovers on each unit.” Rovers are staff

members that move between units as additional assistance and support.

        84.     It was also reported by inmates that at times there would be a complete absence of

officers, with one inmate at CFCF claiming that there were often no officers on their block at all

during the 3 pm – 11 pm and 11 pm – 7 am shifts.

        85.     CFCF inmate John Hart further corroborated the lack of CO’s, stating that “it has

become commonplace to go large stretches of time without seeing COs on our unit.”

                                 Inmate Emergencies and Violence Ignored

                                                Dale Curbeam

        86.     On January 15, 2021, 60-year-old Dale Curbeam was found face down in his cell

at CFCF.

        87.     Curbeam was pronounced dead just a few minutes after being discovered. The

cause of death was ruled a homicide by blunt impact head trauma. Curbeam’s cellmate was arrested

in connection with the murder.
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        88.     According to a report by the Inquirer, only one staffer was assigned when Curbeam

was murdered. 7

                                               Christopher Hinkle

        89.     Christopher Hinkle was arrested for a minor drug charge but was unable to pay his

bond. He was sent to CFCF, where he was housed with another inmate who was killed named

Armani Faison. 8

        90.     On April 12th, Mr. Hinkle was beaten by his cellmate in a brutal, prolonged attack.

        91.     Hinkle sustained a broken neck among other blunt injuries. 9

        92.     Hours passed before Hinkle was discovered.

        93.     The delay in discovering Hinkle rendered him unsavable. Once found, he was put

on life support before he died. 10

        94.     Hinkle’s cellmate reportedly admitted to the assault. The cellmate had a long record

of random assaults and violent criminal offenses, most of which appeared unprovoked. 11

        95.     Hinkle was a non-violent offender.

                                               Rashaan Chambers

        96.      In April of 2021, Rashaan Chambers was an inmate at CFCF. 12

        97.     On April 6, Chambers attempted to get medical care for his diabetes but was

reportedly denied. 13

        98.     According to his mother, Chambers reported that no guards checked on him during

the night nor did they complete morning checks.


7 https://www.inquirer.com/news/homicide-philadelphia-jails-violence-covid-pandemic-lockdowns-20210120.html
8 https://www.inquirer.com/news/philadelphia-jail-murder-christopher-hinkle-armani-faison-20210423.html
9 https://6abc.com/philly-jail-death-christopher-hinkle-murder-inmate-killed/10669008/
10 https://philadelphia.cbslocal.com/2021/05/21/christopher-hinkle-philadelphia-prison-death-rameel-wright/
11 https://www.inquirer.com/news/philadelphia-jail-murder-christopher-hinkle-armani-faison-20210423.html
12 https://www.inquirer.com/news/philadelphia-department-prisons-lockdown-bail-fund-20210519.html
13 https://nwlocalpaper.com/injustice-is-blind
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           99.     Feeling ill, Chambers did not go out of his cell for recreation time on April 7, but

this did not alert staff to check on him. Staff reportedly did not seek care or check on Chambers

until his family complained.

           100.    Chambers was eventually taken to the hospital.

           101.    On April 16 at 8:42 a.m., Chambers was pronounced dead from complication of

diabetic ketoacidosis.

           102.    Despite there being a clear need for assistance, Chambers was ignored until his

condition was too severe to survive.

                                                        Eli Rosa

           103.    In a 2021 letter, Eli Rosa described the lack of correctional officers at CFCF where

he was an inmate.

           104.    Rosa wrote: “I’ve done had seizures, fights and fell off my bunk, and no C/O was

around to help me get medical attention.” 14

                                                  Quincy Day-Harris

           105.    On August 25, 2021 at the Detention Center, operated by PDP, 25 year old inmate

Quincy Day-Harris died by suicide. 15

           106.    According to his family, Day-Harris suffered from paranoid schizophrenia which

was well documented through previous times when the jail had admitted him to the hospital for

psychiatric purposes.

           107.    Day-Harris’s family feels that the jail did not provide adequate oversight despite

knowing that Day-Harris had documented mental health needs, resulting in his death.




14   https://www.inquirer.com/news/philadelphia-jail-murder-christopher-hinkle-armani-faison-20210423.html
15   https://www.inquirer.com/news/philadelphia-prison-riot-cfcf-assault-20210826.html
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                                                  Unknown Inmate #1

           108.     Norman Cooper, an inmate in CFCF’s custody, reported that in 2020 an unknown

inmate on his cell block committed suicide. 16

           109.     It is alleged that due to insufficient staffing leading to guards not checking on cells,

the unknown inmate was left hanging for several hours.

           110.     According to Cooper, the cellmate of the unknown inmate was banging on their

cell for hours trying to summon help. The calls went unanswered

                                                  Unknown Inmate #2

           111.     On September 30, 2021, an unknown inmate at CFCF was repeatedly beaten and

stabbed by three other inmates. 17

           112.     There were no guards on the cell block.

           113.     The unknown inmate, with no help available, staggered back to his cell as other

inmates mopped up the blood.

                                           FIRST CAUSE OF ACTION
                                          WRONGFUL DEATH ACTION

           114.     Plaintiffs bring this action pursuant to the Wrongful Death Act of the

Commonwealth of Pennsylvania, 42 Pa.C.S.A. § 8301, to recover damages as a result of the

wrongful death of Frankie Diaz.

           115.     No other action has been brought to recover for Diaz’s death under the

aforementioned statute.

           116.     The wrongful death beneficiaries according to the law are the Plaintiff

Administrators, Frank Diaz (father of the Decedent) and Eva Diaz (mother of the Decedent)



16   https://www.inquirer.com/news/philadelphia-jail-conditions-cfcf-prisons-emergency-20211116.html
17   https://www.inquirer.com/news/philadelphia-jails-staffing-shortage-assault-20211104.html
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        117.    Plaintiff claims all available damages under the Wrongful Death Act of the

Commonwealth of Pennsylvania for financial contributions and the loss of future services, support,

society, comfort, affection, guidance, tutelage, and contributions and the Plaintiff’s decedent,

Frankie Diaz, would have rendered to the wrongful death beneficiaries but for his traumatic,

untimely and unnatural death occurring as a result of the unlawful acts and omissions which are

subject to the present litigation.

        118.    Plaintiff claims damages for all medical bills and/or expenses.

        119.    Plaintiff claims all damages for payment of funeral or burial expenses.

                                     SECOND CAUSE OF ACTION
                                        SURVIVAL ACTION

        120.    Plaintiff hereby incorporates all preceding paragraphs as is fully stated herein.

        121.    Plaintiff brings this action pursuant to the Pennsylvania Survival Statute, 42

Pa.C.S.A. §8302, for all recoverable damages under the Statute, including but not limited to loss

of earnings, loss of earning power, loss of earning capacity, pain and suffering and emotional

distress.

                          COUNT I: FOURTEENTH AMENDMENT
                        PLAINTIFFS VS INDIVIDUAL DEFENDANTS

        122.    Plaintiff hereby incorporates all preceding paragraphs as if fully stated herein.

        123.    As set herein, this is a civil rights action brough pursuant to 42 U.S.C. § 1983 that

challenged the unconstitutional actions of the Defendants that resulted in the assault and murder

of Frankie Diaz.

        124.    At all relevant times hereto, Defendants were “persons” acting under color of state

law.
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        125.    The Fourteenth Amendment imposes on Defendants the obligation to take

reasonable measures to protect pretrial detainees from violence at the hands of other inmates.

        126.    As explained above, Defendants failed in their obligation at every turn.

        127.    Defendants’ conduct exposed Frankie Diaz to a substantial risk of harm.

        128.    Defendants knew of and were deliberately indifferent to those known risks.

        129.    As a result of Defendants deliberate indifference, Frankie Diaz was viciously

assaulted and died as a result of his injuries.

        130.    Defendants were in direct violation of the Fourteenth Amendment, as well as their

own policies, when they recklessly, willfully and with deliberate indifference kept Diaz on the

same block as Adam Tann and other inmates whom they knew presented danger to his health and

safety, and failed to provide guards in the shower area all the while knowingly being too

understaffed to provide adequate supervision to the individuals incarcerated therein.

        131.    While acting under color of state law, Defendants affirmatively created the danger

that led to Frankie Diaz’s death by:

            a. Failing to maintain appropriate staff in the inmate housing units;

            b. Placing Frankie Diaz in a cell with inmate Adam Tann despite knowledge of prior

                threats and/or assaults;

            c. Failing to have a corrections officer in the shower area while inmates were

                showering particularly those with a violent history such as Mr. Tann;

            d. Failing to conduct regular checks of the cells housing inmates;

            e. Failing to respond to the assault of the Plaintiff’s Decedent in a timely manner

                despite being alerted by other inmates of the ongoing assault;
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           f. Failing to adequately protect Frankie Diaz from fatal injuries while in their custody

                and control;

           g. Failure to have a sufficient number of guards in the shower area;

           h. Hearing the assault occurring and not responding in a timely or meaningful fashion

           i. Allowing Frankie Diaz to be in the shower alone, unguarded with a violent

                individual with whom he had past interactions and/or was threatened by in the past;

                and,

           j. Willfully subjecting Frankie Diaz to an assault and ultimately his death, described

                herein.

       132.     The danger created by the Defendants as set forth above was foreseeable and direct,

and through their failures, willful disregard, and deliberate indifference to Mr. Diaz’s safety,

Defendants acted with a degree of culpability that shocks the conscience.

       133.     Defendants acts and omissions caused Mr. Diaz to suffer extreme and severe

physical and emotional distress, terror, agony, and ultimately were the direct and proximate cause

of his death.

       WHEREFORE, Plaintiffs demand judgement in his favor, and against Defendants

Carney, Pierre Lacomb, and John Doe Correctional Officers #1-10 pursuant to 42 U.S.C. § 1983,

in an amount in excess of One Hundred Fifty Thousand ($150,000.00), including interest, delay

damages, costs of suit, general and specific damages including both survival and wrongful death

damages, punitive damages, attorneys’ fees under 42 U.S.C. § 1985 and 1988, and any other

damages legally appropriate at the time of a jury trial.

                COUNT II: FOURTEENTH AMENDMENT MUNICIPAL LIABILITY
                  PLAINTIFFS VS DEFENDANT THE CITY OF PHILADELPHIA

       134.     Plaintiff hereby incorporates all preceding paragraphs as if fully stated herein.
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       135.    The customs, practices, and policies of the City of Philadelphia were a moving force

behind the violation of Frankie Diaz ‘s constitutional rights.

       136.    Mr. Diaz’s was deprived of rights and privileges secured to him by the United States

Constitution and by other laws of the United States, and by the City of Philadelphia through its

many failures addressed supra.

       137.    Policymakers and authoritative figures knew of the failures of the Philadelphia

Department of Prisons as discussed herein but failed to take the necessary steps to rectify the

failures, including but not limited to the significant understaffing of the prisons (including

Detention Center) and adequately protect the constitutional rights of the inmates in their custody

and control.

       WHEREFORE, Plaintiff demands judgement in his favor, and against Defendant the City

of Philadelphia, pursuant to 42 U.S.C. § 1983, in an amount in excess of One Hundred Fifty

Thousand ($150,000.00), including interest, delay damages, costs of suit, general and specific

damages, including both survival and wrongful death damages, attorneys’ fees under 42 U.S.C. §

1985 and 1988, and any other damages legally appropriate at the time of a jury trial.

                                      COUNT III: NEGLIGENCE
                PLAINTIFFS VS DEFENDANT THE CITY OF PHILADELPHIA
       138.    Plaintiff hereby incorporates all preceding paragraphs as if fully stated herein.

       139.    As a direct and sole result of the careless, reckless and negligence of Defendant

City of Philadelphia, Decedent Frankie Diaz suffered a violent assault, numerous injuries, and

eventual death.

       140.    The brutal death of Mr. Diaz was the direct and proximate result of the negligence

of Defendant City of Philadelphia.
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       141.    The Defendant had a duty or obligation to conform to a standard of conduct,

including maintaining adequate staff, and failed to do so, and this failure was the direct and

proximate cause of Frankie Diaz ‘s murder.

       142.    The Defendant failed to maintain adequate staff despite being put on notice many

times since 2004.

       143.    Defendant’s immunity is waived pursuant to 42 Pa.C.S. § 8542(b)(9).

       WHEREFORE, Plaintiff demands judgement in his favor, and against Defendant the City

of Philadelphia in an amount in excess of One Hundred Fifty Thousand ($150,000.00), including

interest, delay damages, costs of suit, general and specific damages, including both survival and

wrongful death damages, and any other damages legally appropriate at the time of a jury trial.



                                             STAMPONE O’BRIEN DILSHEIMER


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